Case:14-08238-EAG13 Doc#:170 Filed:02/28/19 Entered:02/28/19 09:20:36   Desc: Main
                            Document Page 1 of 1


                  IN THE UNITED STATES BANKRUPTCY COURT FOR
                         THE DISTRICT OF PUERTO RICO



   IN RE:
                                          CASE NO. 14-08238-EAG13
   IVETTE ORTIZ ZAYAS
                                          Chapter 13




   xx-xx-7691




                  Debtor                     FILED & ENTERED ON 2/28/2019

                                ORDER TO SHOW CAUSE

        Debtor is ordered to show cause within fourteen (14) days as to why

  this case should not be dismissed for failure to comply with the Court’s

  order at docket entry #168.    Order due by March 14, 2019.

        SO ORDERED.

        In Ponce, Puerto Rico, this 28 day of February, 2019.
